Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 1 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 2 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 3 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 4 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 5 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 6 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 7 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 8 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 9 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 10 of 11
Case 4:23-cv-00425-JM Document 49 Filed 02/20/24 Page 11 of 11




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